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 8                             UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10   LOVE AND WAR, LLC,                                  Case No.: CV 18-3773-DMG (PLAx)
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                  Plaintiff,                             ORDER DISMISSING ENTIRE
12                                                       ACTION WITH PREJUDICE [50]
     v.
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     WILD BUNCH A.G., WILD BUNCH
14   S.A. and DOES 1-10,
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                  Defendants.
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           Pursuant to the stipulation of the parties and for good cause shown, IT IS
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     HEREBY ORDERED that:
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           A.     All of the claims asserted in this action shall be and are dismissed with
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     prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii); and
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           B.     The parties to this stipulation will each bear their own costs and fees as
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     incurred against one another in this action.
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25   DATED: June 30, 2020                               ________________________________
                                                        DOLLY M. GEE
26                                                      UNITED STATES DISTRICT JUDGE
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